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6
     Attorneys for Plaintiff
7    United States of America

8

9                                  IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00154 LJO

13                                Plaintiff,              STIPULATION TO RESET BRIEFING SCHEDULE
                                                          AND CONTINUE SENTENCING
14                          v.

15   IVAN OROZCO MARTINEZ,

16                               Defendant.

17

18          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

19   Kimberly A. Sanchez, Assistant U.S. Attorney and Harry M. Drandell, attorney for the defendant, that the

20   sentencing set for January 9, 2017 at 8:30 am before the Honorable Lawrence J. O’Neill be continued to

21   January 23, 2017, at 2:00 p.m. At the previously scheduled sentencing, the parties agreed that additional

22   time for the government, and defendant if necessary, to present information regarding a 2-level sentencing

23   enhancement proposed in the PSR was needed. As such, the sentencing was continued to January 9, and the

24   government was to file any memoranda by January 2, 2017. Due to the holidays, and additional time needed

25   to investigate the enhancement, the government did not meet the deadline. The government consulted with

26   defense counsel, and agreed that the government would file a memorandum on January 5, 2017 and that the

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       Stipulation                                         1
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1    parties would stipulate to a new sentencing date so that defense could review the government’s filing with

2    the defendant who is in custody at the Lerdo facility.

3            Dated: January 5, 2017                                   Respectfully submitted,

4                                                                     PHILLIP A. TALBERT
                                                                      United States Attorney
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                                                              By      /s/ Kimberly A. Sanchez
7                                                                     KIMBERLY A. SANCHEZ
                                                                      Assistant U.S. Attorney
8
             Dated: January 5, 2017                                   /s/ Harry M. Drandell
9                                                                     HARRY M. DRANDELL
                                                                      Attorney for Defendant
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12                                                      ORDER

13           Good cause stated. Granted. Sentencing now set for January 23, 2017 at 2:00 p.m.

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     IT IS SO ORDERED.
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16       Dated:      January 6, 2017                              /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
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       Stipulation                                            2
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